                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       CASE NO. 1:09-CR-181
        v.                                     )
                                               )       Chief Judge Curtis L. Collier
 CHARLES HART                                  )


                                             ORDER

        On October 20, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation (“R&R”) recommending (a) the Court accept Defendant’s plea of guilty to Count

 One of the Indictment in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in Count One of the

 Indictment; (c) that a decision on whether to accept the plea agreement be deferred until sentencing;

 and (d) Defendant shall remain in custody pending sentencing in this matter (Court File No. 827).

 Neither party filed an objection within the given fourteen days. After reviewing the record, the

 Court agrees with the magistrate judge’s R&R. Accordingly, the Court ACCEPTS and ADOPTS

 the R&R (Court File No. 827) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Superceding Indictment, in exchange for

 the undertakings made by the government in the written plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Superceding oh Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 February 24, 2011, at 9:00 a.m.

        SO ORDERED.



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       ENTER:

                                    /s/
                                    CURTIS L. COLLIER
                                    CHIEF UNITED STATES DISTRICT JUDGE




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